                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
IN RE:                               )
                                     )
THURSTON, Jethro & Jennifer          ) Case No.: 20-00625
                                     ) Chapter 13
                                     )
       Debtors.                      )

__________________________________________________________________________________
HEARING ON OBJECTIONS SET FOR: April 15, 2020 at 8:30 am, at Courtroom 1, 2nd Floor
Customs House, 701 Broadway, Nashville, TN 37203
                         OBJECTION TO CONFIRMATION
__________________________________________________________________________________

         Comes now, J & L Sales and Rentals, LLC(“J & L Sales and Rentals”), by and through counsel
and would file this objection to confirmation in the above-styled case. J & L Sales and Rentals is a
secured creditor of the above-styled Debtors and has filed a claim in this case in the amount of
$8,294.00. This claim is secured by a 10’ x 20’ lofted barn. As grounds for this objection, J & L Sales
and Rentals would state that the plan fails to provide for an adequate value or adequate protection on this
claim. Therefore, J & L Sales and Rentals, LLC would object to confirmation and pray that this matter be
set for hearing on April 15, 2020.

                                                         Respectfully submitted,

                                                         /s/ David G. Mangum
                                                         David G. Mangum, #013322
                                                         Attorney for Creditor
                                                         2303 8th Avenue South
                                                         Nashville, TN 37204
                                                         Ph: (615) 255-8690
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                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the above and foregoing Objection to Confirmation
was served upon Debtors’ Attorney, Scott D. Wilson, wilsonlgl@hotmail.com and to the Chapter 13
Trustee, Henry E. Hildebrand, III, P. O. Box 340019, Nashville, TN 37203-0019 via electronic mail by
ECF and/or by United States Mail, First Class, postage prepaid, on this the 2nd day of March, 2020.

                                                         /s/ David G. Mangum
                                                         David G. Mangum
DGM File #75519




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